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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FEDERAL TRADE COMMISSION,
                               Plaintiff,
                                                            Case No. 1:24-cv-03109 (JLR)
                        -against-

 TAPESTRY, INC. and CAPRI HOLDINGS                                    ORDER
 LIMITED,
                               Defendants.


JENNIFER L. ROCHON, United States District Judge:

       For the reasons stated on the record during the September 6, 2024 hearing, Plaintiff’s

motion to exclude the testimony of Karen Giberson is DENIED, Plaintiff’s motion to exclude

the testimony of the testimony of Jeff Gennette is DENIED, and Defendants’ motion to

exclude Dr. Loren Smith’s opinions regarding and relying upon his diversion analysis is

DENIED. The Clerk of Court is respectfully directed to close the motions pending at Dkts.

170, 175, and 184.

       Additionally, for the reasons stated on the record during the September 6, 2024

hearing, the motions to seal filed in this case thus far are GRANTED. However, the Court

reiterates that as the case continues to progress, some of what has been filed under seal may

need to be unsealed. Specifically, the Court grants the following motions to seal and

respectively directs the Court to close the motions pending at Dkts. 120, 131, 134, 135, 136,

141, 143, 147, 150, 155, 164, 165, 166, 167, 169, 174, 179, 183, 188, 193, 194, 196, 200, 202,




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206, 209, 210, 211, 213, 214, 215, 216, 217, 219, 220, 221, 224, 227, 229, 231, 234, 238, 240,

245, 248, 249, 251, 254, 256, 262, 263, 267, 268, 270, 273, 274, 276, 278, 279, 284, 311, 315.

Dated: September 6, 2024
       New York, New York

                                                        SO ORDERED.



                                                        JENNIFER L. ROCHON
                                                        United States District Judge




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